                               IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE WESTERN DISTRICT OF TEXAS
                                        SAN ANTONIO DIVISION

IN RE:                                             §
                                                   §
JM OILFIELD SERVICE, INC.                          §       BANKRUPTCY NO. 15-52159-CAG
                                                   §
DEBTOR                                             §       CHAPTER 7 CASE
                                                   §


JOSE C. RODRIGUEZ, AS CHAPTER 7 TRUSTEE §
OF THE BANKRUPTCY ESTATE OF JM          §
OILFIELD SERVICE, INC.,                 §
       PLAINTIFF                        §
                                        §                  ADVERSARY NO.
VS.                                     §
                                        §
CTI METAL BUILDINGS, INC.,              §
       DEFENDANT                        §


                     COMPLAINT TO AVOID & RECOVER PREFERENTIAL TRANSFERS


             Jose C. Rodriguez, the Court-appointed trustee (“Trustee” or “Plaintiff”) of the bankruptcy

estate of JM Oilfield Services, Inc. (the “Estate”) files this Complaint to Avoid and Recover

Preferential Transfers, respectfully showing the Court as follows:

                                                 PARTIES

             1.     Plaintiff is the Trustee duly appointed by the Court upon the initiation of the filing

of this Chapter 7 Bankruptcy proceeding and brings this adversary proceeding pursuant to Federal

Rule of Bankruptcy Procedure 7001, 11 U.S.C. §§ 541, 542, 544, 547, 548, 550, and all other

applicable law. Pursuant to title 11 of the United States Code (the “Bankruptcy Code”), the Trustee

is authorized to pursue all causes of action formerly held by the Debtor and the Estate, including

without limitation, this action to avoid and recover preferential transfers.



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             2.   Defendant CTI Metal Buildings, Inc. (“Defendant”) is a Texas corporation.

Pursuant to Federal Rule of Bankruptcy Procedure 7004, Defendant may be served by mailing the

process via United States Postal Service first class mail postage prepaid to: (1) its registered agent,

Richard Arlin Green, Sr., at 501 St. James St., Gonzales, Texas 78629, or wherever else he may

be found; (2) to President and Director, Richard Arlin Green, Sr., at 611 Saint Peter St., Gonzales,

Texas 78629, or wherever else he may be found; or (3) any other registered agent or officer of

Defendant wherever they may be found.

                                       JURISDICTION & VENUE

             3.   Plaintiff commences this proceeding pursuant to Rule 7001(1) of the Federal Rules

of Bankruptcy Procedure (the “Bankruptcy Rules”). The Court has jurisdiction over this adversary

proceeding pursuant to sections 157, 1331, and 1334 of Title 28 of the United States Code. The

Court may enter final orders and judgments with respect to this proceeding because it is a core

proceeding pursuant to sections 157(b)(1), (b)(2)(A), and (b)(2)(F) of Title 28 of the United States

Code.

             4.   Venue is proper in this district pursuant to section 1409 of Title 28 of the United

States Code.

                                      SUMMARY OF COMPLAINT

             5.   By this Complaint, Plaintiff seeks to avoid and recover all preferential transfers

received by Defendant during the applicable Preference Period (defined below).

                                             FACTS

             6.   On September 1, 2015 (the “Petition Date”), JM Oilfield Services, Inc. (“Debtor”)

filed a voluntary petition under chapter 7 of the Bankruptcy Code.

             7.   Plaintiff is the duly appointed Trustee of the Bankruptcy Estate and is authorized

to pursue this Complaint on behalf of the Debtor and the Bankruptcy Estate.


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             8.    On or within the ninety (90) days prior to the Petition Date (the “Preference

Period”), Debtor transferred, or caused to be transferred, property to Defendant in the form of at

least the following check(s) and/or wire transfer(s) totaling at least $6,490.00 (all such transfers,

including any transfer not listed below but made during the Preference Period, shall be referred to,

individually, as a “Transfer” and cumulatively as the “Transfers”):

                                             Date                Method                Amount
       CTI Metal Buildings, Inc            8/12/2015           Check #1654         $      6,490.00
                                                                 TOTAL             $     6,490.00


             9.    The Transfer was made to Defendant within 90 days of the Petition Date on account

of an antecedent debt owed by Debtor. Debtor was insolvent at the time of the Transfer. The

Transfer listed above enabled Defendant to receive payment of 100% of its then-outstanding

claims.

             10.   On June 22, 2017, Trustee’s counsel made written demand on Defendant to return

to the Estate all sums received from Debtor during the ninety (90) day preference period. To date,

Defendant has failed to return the funds.

             11.   The Trustee reserves his right to amend this Complaint if additional transfers are

discovered. Likewise, by specifying the minimum amount believed to have been received by

Defendant, the Trustee does not waive his right to seek additional monies and/or assets from

Defendant through this action. He specifically seeks to recover through this Complaint all voidable

and unauthorized transfers received by Defendant from Debtor.




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                                           CAUSES OF ACTION

COUNT 1 — Avoidance of Preferential Transfers Pursuant to 11 U.S.C. § 547

             12.   Plaintiff repeats and incorporates by reference the allegations contained in

paragraphs 1–11 above.

             13.   The Transfer constituted a transfer of an interest of property of Debtor.

             14.   The Transfer was made, or caused to be made, to or for the benefit of Defendant, a

creditor of Debtor.

             15.   The Transfer was made, or caused to be made, for or on account of an antecedent

debt owed by Debtor to Defendant prior to the date on which such Transfers were made.

             16.   At the time of the Transfers, Debtor was insolvent. Pursuant to section 547(f) of

the Bankruptcy Code, Debtor is presumed insolvent during the Preference Period.

             17.   The Transfer enabled Defendant to receive 100% of its then-outstanding claims,

which is more than it would have received if: (a) paid in the ordinary disposition of the bankruptcy

estate under chapter 7 of the Bankruptcy Code; (b) the Transfer had not been made; and (c)

Defendant had received payment of such debt to the extent provided by the provisions of the

Bankruptcy Code.

             18.   Pursuant to section 547(b) of the Bankruptcy Code, Plaintiff may avoid the

Transfer, which totals at least $6,490.00.

COUNT 2 — Recovery of Preferential Transfers Pursuant to 11 U.S.C. § 550

             19.   Plaintiff repeats and incorporates by reference the allegations contained in

paragraphs 1–18 above.

             20.   Defendant was the initial transferee of the Transfer.




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             21.   Plaintiff is entitled to recover from Defendant, or any immediate or mediate

transferee of Defendant, the Transfers or the value of the Transfers, along with prejudgment and

post-judgment interest, for the benefit of the trust, as successor to the Debtor’s bankruptcy estate,

pursuant to section 550 of the Bankruptcy Code.

COUNT 3 — Costs and Fees

             22.   Plaintiff repeats and incorporates by reference the allegations contained in

paragraphs 1–21 above.

             23.   Plaintiff has been forced to incur attorneys’ fees and costs in connection with the

filing and prosecution of this Complaint.

             24.   Plaintiff requests an award for such attorneys’ fees and costs incurred in the filing

and prosecution of this Complaint to the extent allowed under the Bankruptcy Code and Texas

law. See 11 U.S.C. §§ 105(a), 547, 550(a).

                                                 PRAYER

              WHEREFORE, the Plaintiff respectfully requests that the Court enter judgment for the

   Plaintiff:

                   (i)     Avoiding the Transfers as preferential transfers under section 547 of the
                           Bankruptcy Code;
                   (ii)    Permitting recovery of the Transfers or the value of the Transfers, along
                           with prejudgment and post-judgment interest, from Defendant pursuant to
                           section 550 of the Bankruptcy Code; and
                   (iii)   All such other relief as is fair and appropriate.




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Dated: August 29, 2017

                         Respectfully submitted,

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                         ATTORNEYS FOR PLAINTIFF
                         JOSE C. RODRIGUEZ, CHAPTER 7 TRUSTEE




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